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OR\G\NAL

                                                                        U.S. DISTRICT COURT
  UNITED STATES OF AMERICA

  v.

  BALDEMAR SOLIS
  a/k/a/ "Bait"


                                       INDIC1MENT
  The Grand Jury Charges:

                                         Count One

            Conspiracy to Possess with Intent to Distribute a Controlled Substance
                               (Violation of21 U.S.C. § 846)

         Beginning in or before January 2011, and continuing until in or around August

  2012, and beyond, in the Fort Worth Division of the Northern District of Texas, and

  elsewhere, defendant Baldemar Solis, also known as Bait, along with others known and

  unknown, did knowingly and intentionally combine, conspire, confederate, and agree to

  engage in conduct in violation of21 U.S.C §§ 841(a)(1) and (b)(l)(B), namely to possess

  with intent to distribute 50 grams or more of a mixture and substance containing a

  detectable amount of methamphetamine, a Schedule II controlled substance.




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       In violation of21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(1) and (b)(l)(B)).



                                         A TRUE BILL.




JOHN R. PARKER
UNIT    S ATES ATTORNEY



s
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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION



                        THE UNITED STATES OF AMERICA

                                            v.

                                BALDEMAR SOLIS (01)
                                    aJk/a "Bait"



                                     INDICTMENT

                21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(l) and (b)(l)(B))
         Conspiracy to Possess with Intent to Distribute a Controlled Substance
                                        1 Count




Filed in open court this 12th day of October, 2016.



Defendant in Federal Custody sine
